18-23408-rdd   Doc 79   Filed 09/09/19    Entered 09/11/19 09:32:14   Main Document
                                         Pg 1 of 26
18-23408-rdd   Doc 79   Filed 09/09/19    Entered 09/11/19 09:32:14   Main Document
                                         Pg 2 of 26
18-23408-rdd   Doc 79   Filed 09/09/19    Entered 09/11/19 09:32:14   Main Document
                                         Pg 3 of 26
18-23408-rdd   Doc 79   Filed 09/09/19    Entered 09/11/19 09:32:14   Main Document
                                         Pg 4 of 26
18-23408-rdd   Doc 79   Filed 09/09/19    Entered 09/11/19 09:32:14   Main Document
                                         Pg 5 of 26
18-23408-rdd   Doc 79   Filed 09/09/19    Entered 09/11/19 09:32:14   Main Document
                                         Pg 6 of 26
18-23408-rdd   Doc 79   Filed 09/09/19    Entered 09/11/19 09:32:14   Main Document
                                         Pg 7 of 26
18-23408-rdd   Doc 79   Filed 09/09/19    Entered 09/11/19 09:32:14   Main Document
                                         Pg 8 of 26
18-23408-rdd   Doc 79   Filed 09/09/19    Entered 09/11/19 09:32:14   Main Document
                                         Pg 9 of 26
18-23408-rdd   Doc 79   Filed 09/09/19 Entered 09/11/19 09:32:14   Main Document
                                      Pg 10 of 26
18-23408-rdd   Doc 79   Filed 09/09/19 Entered 09/11/19 09:32:14   Main Document
                                      Pg 11 of 26
18-23408-rdd   Doc 79   Filed 09/09/19 Entered 09/11/19 09:32:14   Main Document
                                      Pg 12 of 26
18-23408-rdd   Doc 79   Filed 09/09/19 Entered 09/11/19 09:32:14   Main Document
                                      Pg 13 of 26
18-23408-rdd   Doc 79   Filed 09/09/19 Entered 09/11/19 09:32:14   Main Document
                                      Pg 14 of 26
18-23408-rdd   Doc 79   Filed 09/09/19 Entered 09/11/19 09:32:14   Main Document
                                      Pg 15 of 26
18-23408-rdd   Doc 79   Filed 09/09/19 Entered 09/11/19 09:32:14   Main Document
                                      Pg 16 of 26
18-23408-rdd   Doc 79   Filed 09/09/19 Entered 09/11/19 09:32:14   Main Document
                                      Pg 17 of 26
18-23408-rdd   Doc 79   Filed 09/09/19 Entered 09/11/19 09:32:14   Main Document
                                      Pg 18 of 26
18-23408-rdd   Doc 79   Filed 09/09/19 Entered 09/11/19 09:32:14   Main Document
                                      Pg 19 of 26
18-23408-rdd   Doc 79   Filed 09/09/19 Entered 09/11/19 09:32:14   Main Document
                                      Pg 20 of 26
18-23408-rdd   Doc 79   Filed 09/09/19 Entered 09/11/19 09:32:14   Main Document
                                      Pg 21 of 26
18-23408-rdd   Doc 79   Filed 09/09/19 Entered 09/11/19 09:32:14   Main Document
                                      Pg 22 of 26
18-23408-rdd   Doc 79   Filed 09/09/19 Entered 09/11/19 09:32:14   Main Document
                                      Pg 23 of 26
18-23408-rdd   Doc 79   Filed 09/09/19 Entered 09/11/19 09:32:14   Main Document
                                      Pg 24 of 26
18-23408-rdd   Doc 79   Filed 09/09/19 Entered 09/11/19 09:32:14   Main Document
                                      Pg 25 of 26
18-23408-rdd   Doc 79   Filed 09/09/19 Entered 09/11/19 09:32:14   Main Document
                                      Pg 26 of 26
